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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv. Criminal No. 03-CR-331-13-14 (CKK)

ELIU LORENZANA-CORDON
WALDEMAR LORENZANA-CORDON
DEFENDANT, ELIU LORENZANA-CORDON’S MOTION FOR NEW TRIAL
Eliu Lorenzana-Cordon, by and through counsel, respectfully request that this
Honorable Court GRANT the Defendant a new trial. As grounds the following is
submitted:

1. On November 1, 2017, this Honorable Court requested the parties to take
another look at the extradition papers that were filed in this case, to take another look at the
motion that had been filed concerning extradition, to take a look at whether some of the
issues raised by the Defendant at the sentencing had any merit, to look at trial testimony
and documents that should have been introduced at trial, perhaps issues raised about prior
trial counsel, impeachment evidence of testimony given at trial and to present it in the form
of a motion for new trial.

2. The Defendant has requested that counsel focus this motion on the Affidavit In
Support Of Request For Extradition signed by Steven Fraga, the impeachment testimony
concerning Vinicio Reyes Sosa, the date of his arrest, the date of his death and the

documents that show he was not arrested in the year 2000.

3. The Affidavit of Steven Fraga , paragraph twenty-nine reads as follows:
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CS1 stated that Eliu Elixander Lorenzana-Cordon and co-
conspirators Byron Linares, Otto Herrera-Garcia, Haraldo
Lorenzana, and Waldemar Lorenzana-Cordon, Jr. met in
Guatemala in approximately February 2004 to discuss the
seizures from the previous year, and specifically discussed the
fact that Linares’ accounting ledgers were among the
documents seized during the execution of the warrants in 2003
at the properties in Zone 14, Guatemala City, Guatemata.
(Exhibit 1)

4. Based on the testimony heard at trial, the meeting described was
impossible. Byron Linares, the bookkeeper, the author of the accounting ledgers, the
one person that accompanied Otto Herrerra to the meeting in San Salvador to discuss
bringing the drugs through El Salvador and who Otto Herrerra asked to find a
replacement for Vinicio Reyes Sosa, testified that he was arrested on May 22, 2003
and that he remained incarcerated for fifteen months, almost sixteen approximately.
(Exhibit - 2)( Tr. 2/25/16, 9:07 a.m., p.60, L. 20 - p.61, L.3)

5. The same false information was in the Affidavit In Support Of Request
For Extradition signed by Janet Turnbull, dated December 9, 2011, The Affidavit of
Janet Turnbull, paragraph thirty-four reads as follows:

One of the confidential sources stated that ELIU
ELIXANDER LORENZANA-CORDON and co-
conspirators Byron Linares, Otto Herrera-Garcia,
Haroldo Lorenzana and Waldemar Lorenzana Jr. Met
in Guatemala in approximately February 2004 to
discuss the seizures from the previous year, and
specifically discussed the fact that Byron Linares’
accounting ledgers were among the documents seized
during the execution of the warrants in 2003 at the

properties in Zone 14, Guatemala City, Guatemala.
(Exhibit 3)
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6. Where the defendant makes a substantial preliminary showing that a false
statement knowingly and intentionally, or with reckless disregard for the truth, was included
by the affiant in the warrant affidavit, and if the allegedly false statement is necessary to the
finding of probable cause, the Fourth Amendment requires that a hearing be held at the
defendant's request. In the event that at that hearing the allegation of perjury or reckless
disregard is established by the defendant by a preponderance of the evidence, and, with the
affidavit's false material set to one side, the affidavit's remaining content is insufficient to
establish probable cause, the search warrant must be voided and the fruits of the search
excluded to the same extent as if probable cause was lacking on the face of the affidavit.
Franks v. Delaware, 438 U.S. 154, 155 (1978)

7. In an extradition hearing, the court is not sitting on the trial of the prisoner, with
power to pronounce him guilty and punish him or declare him innocent and acquit him. The
court is now engaged simply in an inquiry as to whether, under the construction of the act of
Congress, and the treaty entered into between this country and a foreign country, there was
legal evidence before the commissioner to justify him in exercising his power to commit the
person accused to custody to await the requisition of the foreign government. Charlton v.
Kelly, 229 U.S. 447, 460 (1913). See, United States v. Rausher, 119 U.S. 407 (1 886), In re
Oteiza y Cortes, 136 U.S. 330 (1890), Pettit v. Walshe, 194 U.S. 205 (1904), Grin v. Shin,

187 U.S. 181 (1902).
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8. In this case, legal evidence means, a showing of probable cause without a
knowingly and intentionally false statement or a statement made in reckless disregard for the
truth, included in the Affidavit In Support Of Extradition. Through extradition proceedings,
one nation turns over custody of a person at the request of another nation, pursuant to a treaty
between the two nations. See generally RESTATEMENT (THIRD) OF THE FOREIGN
RELATIONS LAW OF THE UNITED STATES 8§ 475, 478 (1987). The purpose of an
extradition hearing is to determine whether "the evidence [is] sufficient to sustain the charge
under the provisions of the proper treaty or convention." 18 U.S.C. § 3184. As the district

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court emphasized, "'an extradition hearing is not the occasion for an adjudication of guilt or
innocence." Messina v. United States, 728 F.2d 77, 80 (2d Cir. 1984) (quoting Melia v.
United States, 667 F.2d 300, 302 (2d Cir. 1981)). Rather, the proceeding is essentially a
"preliminary examination to determine whether a case is made out which will justify the
holding of the accused and his surrender to the demanding nation." United States v. Kember,
222 U.S. App. D.C. 1, 685 F.2d 451, 455 (D.C. Cir.), cert. denied, 459 U.S. 832, 74 L. Ed. 2d
72, 103 S. Ct. 73 (1982).

9. A magistrate presiding over the hearing thus performs an assignment in line with
his or her accustomed task of determining if there is probable cause to hold a defendant to
answer for the commission of an offense. See Fed. R. Crim. P. 5.1 (preliminary examination
by federal magistrate). Ward v. Rutherford, 921 F.2d 286 *, 1990 U.S. App. LEXIS 21005,
287 U.S. App. D.C. 246.

10. A warrant affidavit must set forth particular facts and circumstances underlying

the existence of probable cause, so as to allow the magistrate to make an independent
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evaluation of the matter. If an informant’s tip is the source of information, the affidavit must
recite some of the underlying circumstances from which the informant concluded that relevant
evidence might be discovered, and some of the underlying circumstances from which the
officer concluded that the informant ... was credible or his information reliable. Franks v.
Delaware, 438 U.S. 154, In an extradition hearing, the court is not sitting on the trial of the
prisoner, with power to pronounce him guilty and punish him or declare him innocent and
acquit him. The court is now engaged simply in an inquiry as to whether, under the
construction of the act of Congress, and the treaty entered into between this country and a
foreign country, there was legal evidence before the commissioner to justify him in exercising
his power to commit the person accused to custody to await the requisition of the foreign
government.

11. In this matter there was not legal evidence before U.S. Magistrate Judge
Fasciola, or the Tribunal in Guatemala to justify it in exercising its power to commit the
Defendant into custody to await the requisition of the United States Government.

12. The impeachment testimony concerning Vinicio Reyes Sosa, the date of his
arrest, the date of his death, and the documents that show he was not arrested in the year 2000
are attached as Exhibit 4, the Statement of Eliu Lorenzana-Cordon, Exhibit 5, the death
certificate of Vinicio Reyes Sosa, and Exhibit 6, a letter from the mens’ jail for zone 18 in
Guatemala which reads that Vinicio Reyes Sosa was incarcerated from November 28, 2001
until October 7, 2002.

CONCLUSION

In the interest of justice a new trial is respectfully requested.
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WHEREFORE, it is respectfully requested that this motion be granted.

Respectfully Submitted,

/s/Robert E. Cappell

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CERTIFICATE OF SERVICE
Thereby certify that a copy of the foregoing was electronically mailed this 1* day of

December 2017 to all parties/counsel.

/s/ Robert E. Cappell
Robert E. Cappell
